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Buford, Turner (USANYE)

From:                Buford, Turner (USANYE)
Sent:                Thursday, November 10, 2022 5:59 PM
To:                  Johnson, Adam (BOP); Modafferi, Matthew (USANYE); Palacio, Andres (USANYE); Papapetru, Sophia
                     (BOP); Howard, Darrin (BOP)
Subject:             U.S. v. Sternquist
Attachments:         2022.11.10 Order on Gender Marker (Sternquist).pdf


All,

As discussed, please see the attached written order directing the Bureau of Prisons to change the defendant’s SENTRY
classification from “M” to “F” by no later than 5pm on Monday, November 14, 2022. Thanks very much,

Turner

F. Turner Buford
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------x
UNITED STATES OF AMERICA,                             :
                                                      :
                  -against-                           :              ORDER
                                                      :        DOCKET NO. 22-cv-473
KARA STERNQUIST,                                      :      BOP REGISTRY NO. 44404-061
                                                      :
                            Defendant.                :
------------------------------------------------------x

DORA L. IRIZARRY, United States District Judge:

        On November 4, 2022, Defendant Kara Sternquist (“Defendant”) filed a motion requesting

that the Court direct the Bureau of Prisons (“BOP”) to change Defendant’s gender marker to

female. See, Motion, Docket Entry No. 48. On November 9, 2022, the Government opposed the

motion claiming that Defendant’s SENTRY file had been updated with a Case-Management-

Activity Entry on September 26, 2022 reflecting assignment of code “TRN M2F” pursuant to the

policies and procedures set forth in the BOP’s Program Statement entitled the “Transgender

Offender Manual” (“the Manual”). See, Gov’t Opp., Dkt. Entry No. 54; BOP Program Statement

No. 5200.08, January 13, 2022, available at https://www.bop.gov/policy/progstat/5200-08-cn-

1pdf. On November 10, 2022, the Court held a hearing on the motion via videoconference at the

request of the Defendant given that she remains hospitalized.

        Based upon the written submissions of the parties and the arguments made at the hearing,

the Court finds that there is no good cause and no basis for the BOP to continue to refuse to change

Defendant’s “top-line gender classification or marker to “Female” in SENTRY. To fail to do so

would only continue to cause the mis-gendering problems that Defendant has faced while in

custody at the Brooklyn Metropolitan Detention Center (“MDC”) and in the hospital. Moreover,

it is likely to create confusion in the future as Defendant is transferred to different facilities as it is
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apparent that there is no inclination by intake officers to go beyond that top-line gender

classification to make determinations as to where to house Defendant or otherwise provide care

for her. The Court finds no merit to the Government’s excuse that the BOP has no technical way

to include the Case-Management-Entry code in the top-line gender classification, which sounds

like a coding issue that could be handled easily by any IT specialist. Accordingly, it is hereby

       ORDERED that, NO LATER THAN 5:00 PM MONDAY, NOVEMBER14, 2022, the

Bureau of Prisons shall change the top-line gender classification of Defendant Kara Sternquist,

Registry No. 44404-061, from male to female, whether termed “gender” or “sex”. Failure to

comply timely with this Order may result in a finding of contempt of court and the imposition of

sanctions.

SO ORDERED.

DATED: Brooklyn, New York
       November 10, 2022

                                                                   /s/
                                                     _____________________________
                                                           DORA L. IRIZARY
                                                        United States District Judge




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